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and DONALD J. PUTTERMAN

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA

In re: US. Dist. Ct. Case No. 2:14-cv-1169-KJM-AC

SK FOODS, L.P., a California limited Bankruptcy Case No. 09-29162-D-11
partnership, et al.,
Adversary Proceeding No. 14-02025-D
Debtors.
Chapter 11

DC No. BMZ-2

 

DEFENDANTS’ REPLY BRIEF IN
BRADLEY D. SHARP, as Chapter 11 Trustee of | SUPPORT OF MOTION FOR ORDER
SK Foods, L.P., a California limited partnership, | WITHDRAWING REFERENCE OF
and RHM Industrial / Specialty Foods, Inc., a BANKRUPTCY ADVERSARY
California corporation, et al., PROCEEDING

Plaintiff,

VS.

KASOWITZ, BENSON, TORRES &
FRIEDMAN, LLP, a New York registered
limited liability partnership; DONALD J.
PUTTERMAN, an individual; and DOES 1
through 30,

Defendants.

 

 

 

 

 

REPLY BRIEF IN SUPPORT OF DEFENDANTS’ MOTION FOR ORDER WITHDRAWING REFERENCE OF
BANKRUPTCY ADVERSARY PROCEEDING -- USDC Case No.2:14-CV-1169-KJM-AC

 
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I, INTRODUCTION

Defendants Kasowitz, Benson, Torres & Friedman, LLP and Donald J. Putterman
(collectively “KBTF”) move this court for an order withdrawing the reference to the Bankruptcy
Court. Here, as established in the moving papers, the genesis of the Trustee’s claims against KBTF
is KBTF’s provision of legal services to the Debtors, the New Debtor Entities, and Affiliates.

Absent the duties imposed on KBTF by state law, the Trustee has no claim against KBTF. Asa
result, whether core or non-core, the Bankruptcy Court lacks authority to finally adjudicate the
majority of the Trustee’s claims. Immediate withdrawal of the reference is necessary to avoid
inefficiencies, including litigating this matter in two forums; the Bankruptcy Court for pre-trial
matters, and District Court for trial. Anything short of immediate withdrawal of the reference is
inefficient, and a waste of judicial resources.

Moreover, immediate withdrawal is required as neither party has waived a jury. Ina futile
attempt to avoid withdrawal of the reference, the Trustee, Bradley D. Sharp (“Trustee”), makes the
simplistic argument that KBTF, by filing a proof of claim, waived its right to a jury trial. As
discussed below, there is ample authority rejecting the Trustee’s waiver argument.

However, even if true, which it is not, the Trustee’s demand of “a jury trial on all claims and
causes of action” warrants immediate withdrawal of the reference, rendering any possible waiver by
KBTF moot. See, RJN, Ex. A, p. 28:1-4. The Trustee suggests he “is prepared to waive his right to
a jury trial;” however, to date, he has not done so, and his jury demand precludes trial in Bankruptcy
Court.’ Moreover, KBTF filed a motion to compel arbitration of the Trustee’s claims pursuant to an
express, mandatory arbitration provision in KBTF’s retainer agreement. If KBTF does not succeed
in compelling arbitration, it will, like the Trustee, demand a jury trial of all claims.

Apparently recognizing the futility of his jury waiver argument, the Trustee urges this court
to reject the withdrawal request, and allow the Bankruptcy Court to make all determinations short of
entering a final judgment on claims outside its authority. To support this argument, the Trustee

relies on the Bankruptcy Court’s purported familiarity with the relevant facts and legal issues.

 

As noted in its opening brief, KBTF does not consent to the Bankruptcy Court empaneling a jury in this matter.
Therefore, the Trustee’s jury demand precludes the Bankruptcy Court from hearing this matter.

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However, the Trustee’s primary claims, legal malpractice claims against KBTF, are unique to
KBTF; the Bankruptcy Court’s knowledge of SK Foods bankruptcy provides little relevance to
adjudication of the state law legal malpractice claims.

Contrary to the Trustee’s argument, here, the best use of judicial resources is to present all
claims, including pre-trial and trial matters, to the District Court; moving forward in two
jurisdictions will result in duplicate efforts, easily avoided by withdrawing the reference of this
predominately state law matter.

Il. LEGAL ANALYSIS
A. Withdrawal of the Reference is Mandatory
L. The Jury Demand Warrants Immediate Withdrawal of the Reference

Where a party has a right to trial by jury, that trial may only be conducted in a bankruptcy
court “with the express consent of all the parties.” 28 U.S.C. § 157(e); Knupfer v. Lindblade (In re
Dyer), 322 F.3d 1 178, 1194 (9th Cir. 2003) (“bankruptcy court is unable to preside over a jury trial
absent explicit consent from the parties and the district court”). Here, it is undisputed that the
Trustee demands a jury trial. Similarly, although KBTF filed a motion to compel arbitration based
on the express, mandatory arbitration provision in KBTF’s retainer agreement, if the motion is
denied, KBTF will, like the Trustee, demand a jury trial of all claims.

Cause for withdrawal of the reference within the meaning of Section 157(d) exists where, as
here, a party has a right to a jury trial and does not consent to trial or entry of a final order of the
bankruptcy court. See In re Cinematronics, Inc., 916 F.2d 1444, 1451 (9th Cir. 1990). It is
undisputed that if the court rejects KBTF’s motion to compel arbitration, there will be a jury
demand. Accordingly, immediate withdrawal of the reference is required.

a. KBTF Has Not Waived a Jury

To avoid mandatory withdrawal based on the jury demands, the Trustee argues that KBTF
waived its right to a jury. However, as a result of the Trustee’s jury demand, the Trustee’s waiver
argument is moot; the Trustee’s jury demand requires immediate withdrawal of this matter.

Moreover, in support of this misguided argument, the Trustee relies on cases easily

distinguished from the current matter. The Trustee relies on Katchen v. Landy, 382 U.S. 323 (1966)
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and Langenkamp v. Culp, 498 U.S. 42 (1990). However, the creditors in Katchen and Langenkamp,
unlike KBTF, initiated the action by filing a proof of claim. See, Katchen, supra at 325;
Langenkamp, supra at 42-43, Contrary to the Trustee’s argument, neither Katchen nor Langenkamp
hold that a creditor, like KBTF, who filed a Proof of Claim, not seeking to recover amounts owed,
but to protect its right to an offset if the Trustee is awarded damages in adversary claim, waived a
jury.

In re Castlerock Properties, 781 F.2d 159 (9th Cir.1986) rejects the Trustee’s argument that
KBTF’s proof of claim, filed in response to the substantive consolidation order, and order setting a
deadline to file claims, is a consent to Bankruptcy Court jurisdiction, i.e. waiver of a jury.
Specifically, the court rejected the argument, like the Trustee’s, that “by filing its Proof of Claim,
Piombo [the creditor] impliedly consented to the jurisdiction of the bankruptcy court.” Jd. at 162.
The court, distinguishing a Proof of Claim filed in response to the Debtor/Trustee’s claims, from a
Proof of Claim initiating litigation, held that because “asserting an affirmative defense does not
constitute consent... by analogy, Piombo’s filing the proof of claim should not be deemed
consent.” Jd. at 163.

Here, KBTF filed a responsive Proof of Claim, which does not seek affirmative relief, but is
merely meant to provide an offset if the Trustee prevails. As recognized in Dexter v. Gilbert (Matter
of Kirshoff Frozen Foods, Inc.), 496 F.2d 84 (9th Cir. 1974), “Here there was no such consent to
jurisdiction. The Gilberts did not seek remedy or relief from the bankruptcy court save in the event
the trustee first prevailed in the dispute initiated by him.” Jd. at 86.

KBTF filed its Proof of Claim to preserve its rights in response to the order setting a deadline
to file claims; KBTF’s Proof of Claim does not seek monetary recovery from the estate, but merely
an offset, if warranted, to any damages awarded to the Trustee in the present action. KBTF did not
instigate the matter, but merely responded, as required by bankruptcy procedure, to preserve its

claim in response to the Trustee’s action. Accordingly, KBTF has not waived a jury.

b. Immediate Withdrawal is Warranted; Permitting the Bankruptcy
Court to Hear Pre-trial Matters is Inefficient

The Trustee does not dispute that where a party demands a jury the reference must be
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withdrawn. Opposition, p. 7:6-9. Although recognizing the mandatory withdrawal in response to a
jury demand, the Trustee argues that a jury demand does not require immediate withdrawal of the
reference. Jd. Ignoring obvious redundancies and inefficiencies, the Trustee argues the Bankruptcy
Court should retain jurisdiction over this action for pre-trial matters.

Although not recognized by the Trustee, allowing the Bankruptcy Court to retain this case for
pre-trial matters is not warranted. Here, no proceedings, with the exception of status conferences,
have occurred in the adversary action; the matter is now stayed pending resolution of the current
motion. Therefore, no appreciable judicial resources have been expended in the Bankruptcy Court
on this new, currently stayed, adversary proceeding.

Leaving this proceeding in the Bankruptcy Court would require the parties to prepare the
case for two courts, force two courts to learn the case, and allow for inevitable interruptions as
orders are appealed from the Bankruptcy Court to the District Court. Moreover, duplication of
judicial resources will occur if the Bankruptcy Court must first learn the case sufficiently to make it
ready for trial, then hand it off to the District Court to learn the case and adjudicate the matter de
novo. See, Security Farms v. International Bd. of Teamsters (In re Security Farms), 124 F.3d 999,
1008-1009.

The Trustee’s reliance on Sigma Micro Corp. v. Healthcentral.com (In re Healthcentral.com)
504 F.3d 775, 787 (9th Cir. 2007) to argue judicial economy and efficiency are served by permitting
the Bankruptcy Court to hear pre-trial matters is misguided.” Senior Judge Lawrence K. Karlton
recently recognized the futility in permitting the Bankruptcy Court to handle pre-trial motions where
a jury demand has been made in an similar adversary action arising out of the SK Foods bankruptcy,
Bradley D. Sharp, Chapter 11 Trustee v. Segal & Kirby, LLP, United States District Court, Eastern
District of California, Case No. CIV. S—13—1363 LKK (Doc. No. 15). See, 2013 WL 5494071. In
his order, Judge Karlton rejected the Trustee’s arguments, similar to his arguments here, that the

Bankruptcy court is best suited to handle the fraudulent conveyance claim through pre-trial

 

As noted in its moving papers, if the court denies KBTF’s motion to compel arbitration, KBTF will demand a jury
trial of the Trustee’s claims.

Of note, Jn re Healthcenral.com predates Stern v. Marshall, 564 U.S.___, 131 S.Ct. 2594, 2608 (2011).
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proceedings, and the Bankruptcy Court’s intimate familiarity with the overall bankruptcy warranted
its handling of pre-trial matters. Jd. at 3-4.
2. The Trustee’s Claims do not Emanate from the Bankruptcy Itself

The Trustee misconstrues KBTF’s argument, alleging that KBTF’s assertion that “the
complaint is devoid of any issue implicating federal bankruptcy law. Opposition, p. 8:5-6. The
point, apparently missed by the Trustee, is that absent the state law duty, the Trustee would have no
claim against KBTF. That is, the Trustee’s claims are entirely based on state law duties between a
lawyer and client. Obviously, the claims arising out of state law duties between a lawyer and client,
including breach of fiduciary duty, professional negligence/legal malpractice, to avoid and recover
fraudulent transfers, to avoid and recover preferential transfers, to recover tangible property of the
debtor, unjust enrichment and restitution/disgorgement, unlawful business practices, and imposition
of constructive trust, do not implicate federal bankruptcy law. Moreover, the remaining claim,
objection to proof of claims, is merely an attempt by the Trustee to avoid paying fees allegedly owed
to KBTF based on the Trustee’s allegation of breach of the state law standard of care. As noted
earlier, KBTF’s Proof of Claim was merely a responsive filing, meant only to preserve a possible
offset to any damages awarded to the Trustee.

Ignoring requisite elements of a legal malpractice claim, the Trustee asserts, with no support,
that the presence of state law legal malpractice claims does not warrant withdrawal because “the
Bankruptcy Court has already found that Defendants violated numerous ethical and professional
duties owed to the Debtors.” Opposition, p. 9:9-13. However, the Bankruptcy Court’s rulings on
motions to disqualify KBTF do not compel the Bankruptcy Court’s continued handling of this
matter. Although not mentioned by the Trustee, state law issues remain for a jury to decide,
including causation and damages.

B. Good Cause Exists for Permissive Withdrawal

In a misguided attempt to preclude permissive withdrawal, the Trustee argues that “the

 

The Trustee’s claims seeking to avoid and recover fraudulent transfers, avoid and recover preferential transfers,
recover tangible property of the debtor, impose a constructive trust, unjust enrichment and restitution/disgorgement,
are typical state law based attempts to recover fees paid to KBTF for its alleged conflicts and breaches.

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entirety of the Trustee’s compliant is a core proceeding since it is a claim by the estate against
Defendants who have filed a proof of claim against the estate,” Opposition, p. 10:2-4. However, the
Trustee again fails to recognize the distinction between a creditor, like KBTF, who files a responsive
Proof of Claim to preserve its offset rights, and a creditor who instigates the action by filing its
claim. According to the Trustee, “counterclaims by the estate against persons filing claims against
the estate are core proceedings.” Opposition, p. 10:4-5. Although this may be a correct recitation of
the law, the current facts render it irrelevant to this action. Here, the Trustee initiated the action; it
did not file a counterclaim in response to a proof of claim. KBTF filed a responsive Proof of Claim,
and did not initiate the litigation.

Moreover, the Trustee concedes, citing Stern v. Marshall, 564 U.S. ___, 131 S.Ct. 2594,
2608 (2011), that “Bankruptcy Courts lack constitutional authority to render a final judgment in one
particular category of proceedings, namely debtor’s state-law counterclaim that is not resolved in the
process of ruling on the creditor’s proof of claim.” Opposition, p. 10:21-26. Here, the state law
legal malpractice claims, which are the genesis of the adversary action, including all claims, mandate
withdrawal of the reference.

As discussed in the moving papers, Plaintiffs’ claims are based on California common law
and statutes, including the first cause of action for breach of fiduciary duty, second cause of action
for professional negligence/legal malpractice, and ninth cause of action for unfair and unlawful
business practices. The gravamen of these state law claims is KBTF’s pre-filing representation of
the Debtor and New Debtor Entities.

The Trustee concedes that his damages claims against Defendants, “are based on the same
nucleus of facts as Trustee’s objection to the Defendants proof of claim, and the
preferential/fraudulent transfer claims.” Opposition, p. 12:20-25. The Trustee also recognizes that
resolution of KBTF’s claim for unpaid fees requires determination of “whether Defendants complied
with their duties to the debtors,” and if a breach of duty is found, the court must determine damages
“before it can determine whether Defendants are entitled to indemnity for any damages that may be
awarded against them, as demanded in their proof of claim.” Opposition, pp. 12:25-13:4. However,

the Trustee fails to recognize that state law controls the analysis of the requisite elements of breach
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and damages.

It is axiomatic that determination of the primary issue in this matter, whether KBTF’s
services fell below the standard of care, depends entirely on the application of California law. This,
therefore, is a private dispute “brought by a bankruptcy corporation to augment the bankruptcy
estate” rather than one that seeks “a pro rata share of the bankruptcy res.” See Granfinanciera S.A.

v. Nordberg, 492 U.S. 33, 56 (1989). The claims do not invoke any substantive right provided by
title 11 and do not arise only in the context of a bankruptcy case; neither claim implicates any issues
of bankruptcy law. Accordingly, the claims are non-core, and the Bankruptcy Court cannot issue a
final judgment.

1. The Relevant Factors Support Immediate Withdrawal

As a result of the jury demands and state law claims, Stern v. Marshall, 564 U.S.___, 131
S.Ct. 2594, 2608 (2011) mandates that the District Court, regardless of its familiarity with the claims
and facts, review all findings de novo. Therefore, an analysis of the relevant factors is not necessary.
However, contrary to the Trustee’s argument, the factors relevant to the court’s exercise of discretion
in deciding a motion to withdraw the reference support immediate withdrawal of the reference in the

current matter.

a. The Trustee’s Argument that Withdrawal of the Reference Would
Not Promote Efficient Use of Judicial Resources Fails

The Trustee argues that permitting the Bankruptcy Court “to finish its work,” would be the
most efficient use available resources. Opposition, p. 14:13-14. This argument is based on the
faulty premise that “the Bankruptcy Court is authorized to finally decide the Trustee’s core claims
and the Defendants’ proof of claim,” and the Bankruptcy Court having “heard and decided some
issues related to the Defendants’ breaches of duties.” Opposition, p. 14:11-13. However, the
Trustee ignores relevant facts, including: (1) the lack of authority for the Bankruptcy Court to rule
on the state law claims; and, (2) the fact that its complaint demands a jury, and, KBTF has not
waived its right to a jury trial. Accordingly, the Bankruptcy court is not authorized to finally decide
the claims, and allowing the Bankruptcy Court to “finish its work,” would not be the most efficient

use of judicial resources.

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REPLY IN SUPPORT OF MOTION FOR ORDER WITHDRAWING REFERENCE OF BANKRUPTCY
ADVERSARY PROCEEDING - Case No. 2:14-CV-1169-KJM-AC

 
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Moreover, Heller Ehrman LLP v. Arnold & Porter LLP (In re Heller Ehrman LLP), 464 B.R.
348, 357-359 (N.D. Cal. 2011) is inapposite. Unlike the present action, Heller Ehrman only
discusses a fraudulent conveyance claim; it does not, like the present action, involve state law legal
malpractice claims. Here, even assuming the Trustee’s res judicata argument is valid, the District
Court, not the Bankruptcy Court, must render a final judgment on the issues of causation and
damages.

Moreover, the Trustee argues, citing Heller Ehrman, that the Bankruptcy Court is
particularly familiar with the facts underlying the legal malpractice claims. However, there is no
factual basis for this position. Here, the Bankruptcy Court merely ruled on a motion to disqualify
based on a fairly simple analysis of alleged conflicted representation. The Bankruptcy Court has not
considered, and has not seen, any facts or argument regarding the more complex issues of causation
and damages. Notably, the District Court has specific knowledge regarding KBTF’s alleged
breaches, as it decided the KBTF disqualification issue on appeal and wrote a detailed opinion.

Unlike Heller Ehrman, where similar claims, unrelated to legal malpractice, were made
against a number of law firms, the claims against KBTF are unique to its representation of the
Debtor. Although the Trustee has made claims against other law firms arising out of the Debtor’s
bankruptcy, unlike the claims in Heller Ehrman, the Trustee’s claims against other law firms in the
SK Foods bankruptcy are irrelevant to the allegations against KBTF. Moreover, the length of time
the SK Foods bankruptcy case has been pending, and the number of avoidance actions, are irrelevant
to the necessary analysis of the legal malpractice claims against KBTF. As a result, Heller Ehrman
is immaterial to the analysis of efficient use of judicial resources.

b. Uniformity of Bankruptcy Administration is Irrelevant

The Trustee’s appeal to the uniform administration of bankruptcy laws is not compelling. As
discussed above, Supreme Court and Ninth Circuit authority require the District Court to hear the
Trustee’s claim. Any consequent effect on the administration of the bankruptcy laws is an
unavoidable consequence of that mandate. Here, delegating pretrial matters to the Bankruptcy Court
will not mitigate whatever harm the Trustee fears will occur by withdrawing the reference

immediately. See, Bradley D. Sharp, Chapter 11 Trustee v. Segal & Kirby, LLP, United States
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District Court, Eastern District of California, Case No. CIV. S—13—1363 LKK (Doc. No. 15).

Moreover, the Trustee argues that rejecting withdrawal is warranted “because the Trustee’s
claims arise under federal bankruptcy law and the Bankruptcy Court has already rendered numerous
such decisions in the SK Foods bankruptcy case here.” Opposition, p. 15:26-28. However, this
argument ignores the fact that the Trustee’s legal malpractice claims against KBTF are based on
unique facts relevant to KBTF’s provision of legal services to the Debtor and related entities.
Therefore, any prior rulings are irrelevant, and do not raise uniformity of bankruptcy administration
concerns.

e. No Evidence of Forum Shopping

KBTF’s motion to withdraw the reference seeks removal of the current adversary action
based on legal authority precluding the Bankruptcy Court from conducting a jury trial or rendering a
final judgment. KBTF’s motion is not prompted by forum shopping, but by a desire to avoid
incurring unnecessary fees and cost necessitated by litigating in both the District Court and
Bankruptcy Court. Here, unlike Heller Ehrman, the Trustee presents no evidence of forum
shopping. Moreover, having received an unfavorable ruling on the disqualification motion from the
District Court mitigates against any allegation of forum shopping.
Il. CONCLUSION

For the reasons stated above, and in its moving papers, KBTF requests that this court
immediately withdraw the reference to the Bankruptcy Court, and retain jurisdiction over the
Trustee’s claim, including all pre-trial and trial matters.

DATED: July 2, 2014 HINSHAV & CULBERTSON LLP J

  

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BRADLEY M. ZAMCZYK
Attorneys for KASOWITZ, BENSON, TORRES &
FRIEDMAN, LLP and DONALD J. PUTTERMAN

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CERTIFICATE OF SERVICE

Bradley Sharp v. Kasowitz, Benson, Torres & Friedman, et al.
Case No. 2:14-cv-1169-KJM-AC
STATE OF CALIFORNIA, COUNTY OF SAN FRANCISCO:

I am a citizen of the United States and employed in San Francisco, California, at the
office of a member of the bar of this Court at whose direction this service was made. I am over
the age of 18 and not a party to the within actions; my business address is One California Street,
18th Floor, San Francisco, California 94111.

On July 3, 2014, I served the document(s) entitled, DEFENDANTS’ REPLY BRIEF
IN SUPPORT OF MOTION FOR ORDER WITHDRAWING REFERENCE OF
BANKRUPTCY ADVERSARY PROCEEDING, on the interested parties in this action by
placing trust copies thereof enclosed in a sealed envelope(s) addressed as stated below:

SEE ATTACHED SERVICE LIST

[_] (BY MAIL): I deposited such envelope in the mail at San Francisco, California with
postage fully prepaid. I am readily familiar with this firm’s practice of collection and processing
correspondence for mailing. Under that practice it would be placed for collection and mailing,
and deposited with the U.S. Postal Service on that same day with postage thereon fully prepaid
at San Francisco, California, in the ordinary course of business. I am aware that on motion of
party served, service is presumed invalid if postal cancellation date or postage meter date is
more than | day after date of deposit for mailing in affidavit.

[_] (VIA OVERNIGHT MAIL): I deposit such envelope to be placed for collection and
handling via UPS following our ordinary business practices. I am readily familiar with this
business’ practice for collecting and processing correspondence for UPS. On the same day that
material is placed for collection, it is picked by UPS at San Francisco, California.

[_] (BY ELECTRONIC MAIL): _ By transmitting a true copy thereof to the electronic mail
addresses as indicated below.

><] (BY CM/ECF SERVICE): I caused such document(s) to be delivered electronically
via CM/ECF as noted herein.

I declare under penalty of perjury under the laws of the United States that the above true

 

 

 

and correct and was executed on July 2, 2014, at San Francisco, California.
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Bradley Sharp v. Kasowitz, Benson, Torres & Friedman, et al.

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